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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                            CRIMINAL ACTION

VERSUS                                                              NO. 04-160
                                                                    REF: CA 06-3748

JACOB LEWIS                                                         SECTION "L"

                                   ORDER AND REASONS

       Pending before the Court is the Petitioner’s Motion to Vacate, Set Aside, or Correct

Sentence by Person in Federal Custody pursuant to 28 U.S.C. § 2255 (Rec. Doc. 315).



I. BACKGROUND

       On May 28, 2004, a federal grand jury returned a six count Indictment as to Jacob Lewis

(“Petitioner”) and seven co-defendants related to a cocaine hydrochloride and cocaine base

(“crack”) conspiracy. The Indictment charged the Petitioner with conspiracy to distribute, and

possess with the intent to distribute, fifty grams or more of crack and five kilograms or more of

cocaine hydrochloride (Count One); two counts of distribution of five hundred grams or more of

cocaine hydrochloride (Counts Two and Three); and one count of distribution of a quantity of

cocaine hydrochloride (Count Four) in violation of Title 21, United States Code, Sections

841(a)(1), (b)(1)(A)-(C), and 846. See Rec. Doc. 1.

       On March 30, 2005, pursuant to a plea agreement, the Petitioner pled guilty to Count One

of the Indictment. In the Factual Basis executed in connection with the Petitioner’s plea

agreement, the Government and the Petitioner agreed and stipulated that the amount of cocaine

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he distributed and possessed with intent to distribute for sentencing purposes was at least 1,500

grams of crack and 15 kilograms of cocaine hydrochloride. The Factual Basis detailed that when

his co-conspirator Mosley would receive multiple kilograms of cocaine hydrochloride, the

Petitioner would often convert amounts of the cocaine hydrochloride to crack prior to helping

Mosley distribute both forms of the drug to others.

       On July 6, 2005, the Court sentenced the Petitioner to 210 months imprisonment as to

Count One with a five year term of supervised release to follow. The Petitioner did not file a

notice of appeal.

       In the plea agreement, the Petitioner agreed to waive both his right to appeal his sentence

and his right to contest his sentence in any post-conviction proceeding. See Rec. Doc. 133.

Nevertheless, on July 5, 2006, the Petitioner filed the present motion under 28 U.S.C. § 2255 to

vacate, set aside, or correct his sentence. The Petitioner raises two grounds for relief in his

motion. His first claim is that his right to effective assistance of counsel was violated by his

counsel’s advising him to stipulate to being responsible for at least 1,500 grams of crack for

sentencing purposes when there was no factual basis to support that amount and by his counsel’s

failure to explain how that amount of crack would impact the sentencing guidelines. The

Petitioner’s second claim is that his counsel was ineffective for not arguing that the 100 to 1

disparity in the statutory and sentencing guideline penalties for crack verses cocaine

hydrochloride formed a basis for downward departure.

       On July 17, 2006, the Petitioner supplemented his motion by filing a copy of the

Indictment in this case.




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II. LAW AND ANALYSIS

         A. Evidentiary Hearing

         An evidentiary hearing is not required on a motion to set aside a sentence if it appears

conclusively from the record that the Petitioner is not entitled to relief. See Randle v. Scott, 43

F.3d 221, 226 (5th Cir. 1995); United States v. Plewniak, 947 F.2d 1284, 1290 (5th Cir. 1991).

Based upon a review of the entire record, it is the opinion of the Court that the motion filed by

the Petitioner can be addressed without an evidentiary hearing.

         B. 28 U.S.C. § 2255

         In United States v. Wilkes, the United States Court of Appeals for the Fifth Circuit held

that “an informed and voluntary waiver of post-conviction relief is effective to bar such relief.”

20 F.3d 651, 653 (5th Cir. 1994). The Fifth Circuit has noted, however, that ineffective

assistance of counsel claims survive a waiver if “the claimed assistance directly affected the

validity of [the] waiver or the plea itself.” United States v. White, 307 F.3d 336, 343 (5th Cir.

2002).

         The relevant portion of the plea agreement provides as follows:

                 Except as otherwise provided in this paragraph, the defendant hereby
         expressly waives the right to appeal his sentence on any ground, including but not
         limited to any appeal right conferred by Title 18, United States Code, Section 3742
         on the defendant, and the defendant further agrees not to contest his sentence in any
         post-conviction proceeding, including but not limited to a proceeding under Title 28,
         United States Code, Section 2255. The defendant, however, reserves the right to
         appeal the following: (a) any punishment imposed in excess of the statutory
         maximum, and (b) any punishment to the extent it constitutes an upward departure
         from the Guideline range deemed most applicable by the sentencing court.


See Rec. Doc. 133. In his petition, the Petitioner asserts that he “waived plea with

exception to ineffective assistance of counsel.” See Rec Doc. 315. Presumably, the

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Petitioner means to argue that he reserved the right to bring an ineffective assistance of

counsel claim. The plain language of the plea agreement refutes this argument; it is clear

that the Petitioner waived this right.

       In this case, there is no dispute that the Petitioner’s guilty plea and accompanying

waiver of post-conviction relief were informed and voluntary. At the rearraignment

proceeding, the Court fully advised the Petitioner of the nature of the charges, the

elements the government was required to prove in order to convict him, the rights he was

giving up by pleading guilty, and the penalties he faced as a result of the charges. The

Petitioner indicated to the Court that he was voluntarily pleading guilty, and this

testimony “carries a strong presumption of verity.” United States v. Abreo, 30 F.3d 29,

31 (5th Cir. 1994).

       Moreover, it is also clear that the claimed ineffective assistance did not directly

affect the validity of the waiver itself. Rather, the Petitioner argues that his counsel

should have negotiated a stipulation involving a lesser amount of crack and should have

advocated for a downward departure based on the crack/cocaine hydrochloride disparity.

In the plea agreement, the Petitioner waived his right to bring these post-conviction

claims. Accordingly, IT IS ORDERED that the Petitioner’s motion is DENIED.


       New Orleans, Louisiana, this 15th day of         September , 2006.




                                                  UNITED STATES DISTRICT JUDGE




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